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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
IN RE HUAZHU GROUP LTD.,                                             CASE NUMBER
                                                                       2:18-cv-08633-DSF-AS
                                                     Plaintiff(s),
                               v.
                                                                           NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.
    G

    G The Counterclaim brought by Claimant(s)                                                                                is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                                is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                           is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                                      .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




     February 27, 2019                               s/ Lesley F. Portnoy
                Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
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   1               PROOF OF SERVICE BY ELECTRONIC POSTING
   2        I, the undersigned say:
   3        I am not a party to the above case, and am over eighteen years old. On February
   4 27, 2019, I served true and correct copies of the foregoing document, by posting the

   5 document electronically to the ECF website of the United States District Court for the

   6 Central District of California, for receipt electronically by the parties listed on the

   7 Court’s Service List.

   8        I affirm under penalty of perjury under the laws of the United States of America
   9 that the foregoing is true and correct. Executed on February 27, 2019, at Los Angeles,

  10 California.

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  12                                               s/ Lesley F. Portnoy
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                                                   Lesley F. Portnoy

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